     Case 4:21-cv-02155-YGR          Document 388-1       Filed 12/20/22      Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8

 9

10                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11                                   OAKLAND DIVISION
12
      In re Google RTB Consumer Privacy               Case No. 4:21-cv-02155-YGR-VKD
13    Litigation,
                                                      DECLARATION OF LESLEY E.
14                                                    WEAVER IN SUPPORT OF
      This document applies to: all actions.          PLAINTIFFS’ ADMINISTRATIVE
15
                                                      MOTION TO CONSIDER WHETHER
16                                                    ANOTHER PARTY’S MATERIALS
                                                      SHOULD BE SEALED
17
                                                      [Civil L.R. 7-11, 79-5(f)]
18
                                                      Judge: Hon. Yvonne Gonzalez Rogers
19

20

21

22

23

24

25

26

27

28
                                                                           Case No. 4:21-cv-02155-YGR-VKD
                              DECL. OF LESLEY E. WEAVER ISO PLAINTIFFS’ ADMIN. MOTION TO CONSIDER WHETHER
                                                             ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR          Document 388-1        Filed 12/20/22        Page 2 of 2




 1          I, Lesley E. Weaver, hereby declare as follows:
 2          1.     I am an attorney licensed in the State of California and admitted to the United States
 3 District Court for the Northern District of California. I am also the Partner-in-Charge of the California

 4 office of Bleichmar Fonti & Auld LLP, and chair of its consumer and antitrust litigation practice.

 5          2.     This declaration is made in support of Plaintiffs’ Administrative Motion to Consider
 6 Whether Another Party’s (Defendant Google’s) Materials Should Be Sealed pursuant to Civil Local

 7 Rule 79-5(f).

 8          3.     I have personal knowledge of the facts stated herein and, if called upon to do so, could
 9 and would testify competently thereto.

10          4.     A true and correct copy of the following document is attached as follows:
11                 a. An unredacted copy of the Reply Declaration of Lesley E. Weaver in Further
12                     Support of Plaintiffs’ Motion to Extend Case Schedule is attached hereto.
13          I declare under penalty of perjury under the laws of the United States of America that the
14 foregoing is true and correct. Executed on this 20th day of December, 2022, in Oakland, California.

15
                                                          /s/ Lesley E. Weaver
16                                                        Lesley E. Weaver
17

18

19

20

21

22

23

24

25

26

27

28
                                                                           Case No. 4:21-cv-02155-YGR-VKD
                              DECL. OF LESLEY E. WEAVER ISO PLAINTIFFS’ ADMIN. MOTION TO CONSIDER WHETHER
                                                             ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
